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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                           BUTTE DIVISION
             _____________________________________________

UNITED STATES OF AMERICA,
                                                   CR 11-1-BU-DWM
                         Plaintiff,

            vs.                                    ORDER

DELANO MARCEL SANCHEZ,

                       Defendant.
             _____________________________________________

      Defendant moves to vacate his detention hearing set for January 31, 2011.

The United States does not oppose the motion. Therefore, IT IS HEREBY

ORDERED Defendant’s January 31, 2011 detention hearing is VACATED.

      The Court has authority to detain a criminal defendant pending a trial if the

Court “finds that no condition or combination of conditions will reasonably assure

the appearance of the person as required and the safety of any other person and the

community[.]” 18 U.S.C. § 3142(e). There exist, however, situations giving rise

to a presumption of detention under the foregoing standard.

      The Court finds the Indictment filed in this case charges Defendant with

conspiracy to distribute methamphetamine in violation of 21 U.S.C. § 846, and

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distribution of methamphetamine in violation of 21 U.S.C. § 841(a)(1). These

charges invoke the presumption contained in 18 U.S.C. § 3142(e) that no

condition or combination of conditions will reasonably assure the appearance of

the Defendant as required and the safety of the community, and that the Defendant

should be detained. This presumption, however, is rebuttable.

      Although the presumption imposes a burden of production on the defendant,

the burden of persuasion with regard to both the risk of flight and dangerousness

remains with the government. United States v. Moss, 887 F.2d 333, 338 (1st Cir.

1989). Nonetheless, a defendant must still produce some relevant evidence to

satisfy his burden of production. United States v. Jessup, 757 F.2d 378, 381 (1st

Cir. 1985).

      Since, at this time, Defendant has waived his right to a detention hearing, he

has not met his burden of producing evidence to rebut the presumption of his

detention. Therefore, pursuant to the statutory presumption under 18 U.S.C. §

3142(e) the Court will order Defendant detained pending trial.

      The Court will, however, leave the issue of Defendant’s release or detention

open. If Defendant desires a detention hearing he shall file a motion requesting

the hearing as permitted under 18 U.S.C. § 3142(f).

      Therefore, IT IS HEREBY ORDERED the Defendant is committed to the

custody of the Attorney General or his designated representative for confinement

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in a corrections facility separate, to the extent practicable, from persons awaiting

or serving sentences or being held in custody pending appeal. The Defendant

shall be afforded a reasonable opportunity for private consultation with defense

counsel. On order of a court of the United States or on request of an attorney for

the Government, the person in charge of the corrections facility shall deliver the

Defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

      DATED this 28th day of January, 2011.


                                        /s/ Jeremiah C. Lynch
                                       Jeremiah C. Lynch
                                       United States Magistrate Judge




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